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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION
 ______________________________________________________________________________

 ROWVAUGHN WELLS, Individually
 and as Administratrix Ad Litem of the
 Estate of Tyre Deandre Nichols, deceased.

        Plaintiff,

 v.                                                       Case No. 2:23-cv-02224-MSN-atc
                                                          JURY DEMAND
 THE CITY OF MEMPHIS, a municipality;
 CHIEF CERELYN DAVIS, in Her Official
 Capacity; EMMITT MARTIN III, in His
 Individual Capacity; DEMETRIUS HALEY,
 in His Individual Capacity; JUSTIN SMITH,
 in His Individual Capacity; DESMOND MILLS,
 JR., in His Individual Capacity; TADARRIUS
 BEAN, in His Individual Capacity; PRESTON
 HEMPHILL, in His Individual Capacity;
 ROBERT LONG, in His Individual Capacity;
 JAMICHAEL SANDRIDGE, in His Individual
 Capacity; MICHELLE WHITAKER, in Her
 Individual Capacity; and DEWAYNE SMITH,
 in His Individual Capacity and as an Agent of the
 City of Memphis,

       Defendants.
 ______________________________________________________________________________

  ORDER GRANTING IN PART AND DENYING IN PART MOTIONS TO STAY FILED
  BY DEFENDANTS HALEY, MARTIN, BEAN, MILLS, AND JUSTIN SMITH; ORDER
      DENYING MOTION TO STAY FILED BY DEFENDANTS HEMPHILL AND
                               DEWAYNE SMITH
 ______________________________________________________________________________

        Before the Court are the Motions to Stay Civil Case Pending Resolution of Criminal

 Proceedings filed June 16, 2023 by Defendants Demetrius Haley (ECF No. 57), Emmitt Martin III
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 (ECF No. 60), Tadarrius Bean (see ECF No. 70, 109),1 Desmond Mills (see ECF No. 104, 109),2

 Justin Smith,3 and Preston Hemphill and DeWayne Smith (ECF No. 62). Plaintiffs responded in

 opposition to these Motions on June 30, 2023 (ECF No. 72), as did Defendants Michelle Whitaker

 (ECF No. 74), Robert Long (ECF No. 75), City of Memphis and Chief Cerelyn Davis (ECF No.

 76), and JaMichael Sandridge (ECF No. 77). After receiving leave from the Court, Defendants

 Hemphill and DeWayne Smith submitted a Reply to the Responses to the Motions to Stay on July

 17, 2023. (ECF No. 85.)

        For the reasons below, the Motions to Stay filed by Defendants Haley, Martin, Bean, Mills,

 and Justin Smith (ECF Nos. 57 and 60) are GRANTED IN PART. The Motion to Stay filed by

 Defendants Hemphill and DeWayne Smith (ECF No. 62) is DENIED.




        1
          Defendant Bean did not file his own motion to stay, but rather a Motion for Joinder to
 Motions of Defendants Demetrius Haley, Emmitt Martin, Preston Hemphill, and DeWayne Smith,
 Individually, to Stay Civil Case on June 26, 2023. (ECF No. 70.) As discussed in open court on
 September 15, 2023, Plaintiff did not oppose this Motion, and the Court granted it later that day.
 (ECF No. 109 at PageID 918.)

        2
          Defendant Mills also did not file his own motion to stay, but rather a Motion for Joinder
 to Motions of Defendants Demetrius Haley, Emmitt Martin, Preston Hemphill, and DeWayne
 Smith, Individually, to Stay Civil Case on August 29, 2023. (ECF No. 104.) As discussed in open
 court on September 15, 2023, Plaintiff did not oppose this Motion, and the Court granted it later
 that day. (ECF No. 109 at PageID 918.)
        3
           Defendant Justin Smith did not file his own motion to stay either, but he did file a
 Response to the Motions to Stay and to the Responses of other parties to those Motions. (ECF No.
 79.) He also filed a Motion for Joinder to Defendants Preston Hemphill and DeWayne Smith’s
 Reply memorandum in Support of Defendants Preston Hemphill and DeWayne Smith’s Motion to
 Stay Civil Case Pending Resolution of Criminal Proceedings on July 7, 2023. (ECF No. 86.) As
 discussed in open court on September 15, 2023, Plaintiff did not oppose this Motion, and the Court
 granted it later that day. (ECF No. 109 at PageID 918.)


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                                             BACKGROUND4

         This matter arises out of the death of Tyre Deandre Nichols. Following a series of

 encounters with officers of the Memphis Police Department on the night of January 7, 2023, Mr.

 Nichols was transported to St. Francis Hospital, where he succumbed to the injuries he sustained

 during those encounters three days later. (ECF No. 1 at PageID 4, 51.) On January 26, 2023,

 Defendants Bean, Haley, Martin, Mills, and Justin Smith were indicted in the Criminal Court of

 Shelby County, Tennessee on charges of second degree murder, aggravated assault, aggravated

 kidnapping, official misconduct, and official oppression related to their actions on January 7. (See

 ECF No. 57-1.)

         On April 19, 2023, Plaintiff RowVaughn Wells filed suit individually and as

 Administratrix Ad Litem of Mr. Nichols’s estate, bringing four Monell claims against Defendant

 City of Memphis and eighteen claims under 42 U.S.C. § 1983 for violations of Mr. Nichols’s

 Fourth and Fourteenth Amendment rights by Defendants Martin, Haley, Justin Smith, Mills, Bean,

 Hemphill, Long, Sandridge, and Whitaker. (ECF No. 1.) Plaintiff also brought one count of

 intentional infliction of emotional distress, one count of negligent infliction of emotional distress,

 and one count of fraudulent misrepresentation against Defendant DeWayne Smith under state law.

 (Id.) Certain Defendants then filed the Motions now before the Court seeking a stay of this matter

 pending resolution of the state criminal proceedings. (See ECF Nos. 57, 60, and 62.)

         On September 12, 2023—after briefing of the Motions to Stay had concluded—Defendants

 Bean, Haley, Martin, Mills, and Justin Smith were also indicted in federal court for alleged

 violations of 18 U.S.C. §§ 242, 1512(b)(3), and 1512(k). United States of America v. Martin III,




         4
             The facts stated herein are included for background and for purposes of these Motions
 only.
                                                   3
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 et al., Case No. 2:23-cr-20191-MSN (W.D. Tenn. filed Sept. 12, 2023). On September 15, 2023,

 the Court held a Scheduling Conference at which it heard argument from parties on whether and

 to what extent a stay would be appropriate in this matter. At the end of that setting, the Court

 informed parties that it would take the stay issue under advisement.

                                        STANDARD OF REVIEW

        Incident to its inherent authority to manage its docket, a court has “broad discretion in

 determining whether to stay a civil action while a criminal action is pending or impending.” F.T.C.

 v. E.M.A. Nationwide, Inc., 767 F.3d 611, 627 (6th Cir. 2014) (quoting Chao v. Fleming, 498 F.

 Supp. 2d 1034, 1037 (W.D. Mich. 2007)). The Constitution does not require that a civil action be

 stayed due to a pending (or impending) criminal indictment. Id. (citing Chao, 498 F. Supp. 2d at

 1037). Nor does it mandate such a stay pending the criminal proceeding’s outcome. Id. (citing

 S.E.C. v. Novaferon Labs, Inc., 941 F.2d 1210, 1991 WL 158757, at *2 (6th Cir. 1991)).

        When determining whether to grant a stay due to a pending criminal proceeding, courts

 generally consider six factors:

        1) the extent to which the issues in the criminal case overlap with those presented in the
        civil case; 2) the status of the case, including whether the defendants have been indicted;
        3) the private interests of the plaintiffs in proceeding expeditiously weighed against the
        prejudice to plaintiffs caused by the delay; 4) the private interests of and burden on the
        defendants; 5) the interests of the courts; and 6) the public interest.

 Id. (citing Chao, 498 F. Supp. 2d at 1037). While “the balance of the hardships” is the most

 important of these factors, the court “must also consider whether granting the stay will further the

 interest in economical use of judicial time and resources.” Id. (quoting Int’l Bhd. of Elec. Workers

 v. AT&T Network Sys., 879 F.2d 864, 1989 U.S. App. LEXIS 10266, at *8 (6th Cir. July 17, 1989)).

 Courts should also consider “the extent to which the defendant’s [F]ifth [A]mendment rights are

 implicated.” Id. (quoting Keating v. Office of Thrift Supervision, 45 F.3d 322, 324 (9th Cir. 1995)).



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 The party seeking the stay bears the burden of showing “there is pressing need for delay, and that

 neither the other party nor the public will suffer harm from entry of the order.” Id. at 627–28

 (quoting Ohio Envtl. Council v. U.S. Dist. Court, S. Dist. Of Ohio, E. Div., 565 F.2d 393, 396 (6th

 Cir. 1977)).

                                                DISCUSSION

         The Defendants seeking a stay of this matter fall into two camps: (1) those who have been

 criminally indicted (“Indicted Defendants”) and (2) those who have not (“Non-indicted

 Defendants”). As this distinction is central to several parties’ responses to the Motions to Stay,

 the Court addresses these groups separately.

 I.      Stay as to Entirety of Proceedings

         At the outset, the Court denies the Indicted and Non-indicted Defendants’ requests for a

 stay of “all proceedings” insofar as they define “all proceedings” to also include Plaintiff’s claims

 against the Defendants who do not want a stay. (See ECF No. 57 at PageID 601, ECF No. 60 at

 PageID 618, and ECF No. 62 at PageID 634.)5 Those Defendants are anxious for their day in court

 and face allegations concerning conduct that does not form the basis of the state and federal

 criminal proceedings. Discovery as to these Defendants and claims could thus proceed without

 infringing on the Fifth Amendment rights of the Indicted Defendants or the Non-indicted



         5
          The Defendants seeking a stay of these proceedings against them do not clearly state their
 position on this question in their Motions or related briefs. Counsel for the Non-indicted
 Defendants argued at the Scheduling Conference that this Court should stay the entirety of this
 case because a different court in this District did so in a separate civil matter involving the Indicted
 Defendants, the City of Memphis, and “John Does 1–4.” See Harris v. City of Memphis et al., No.
 2:23-cv-02058-JTF-tmp (W.D. Tenn. filed February 7, 2023). Although there is passing reference
 to Harris in the Complaint, it was not briefed regarding the Motions to Stay. Having now reviewed
 Harris, it is distinguishable and is arguably of lesser public interest.



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 Defendants. Accordingly, the requests by Defendants Bean, Haley, Martin, Mills, Justin Smith,

 Hemphill, and DeWayne Smith for a complete stay of these proceedings are DENIED.

 II.    Indicted Defendants (Defendants Bean, Haley, Martin, Mills, and Justin Smith)6

        The scope of the stays the Indicted Defendants seek are similar, if not identical, to one

 another. They ask that the Court:

        [S]tay or suspend the proceedings in this cause of action including, but not limited
        to, civil discovery, including, the taking of depositions, written discovery, and
        requests for production of documents of [Defendants], motions (both dispositive
        and otherwise), and any efforts at mediation, arbitration or any other efforts toward
        resolution of the matter through alternative means for so long as [ ] there are active
        criminal proceedings against [Defendants].”

 (ECF No. 57 at PageID 601–02. See also ECF No. 60-2 at PageID 623–24.) Their arguments for

 why a stay is appropriate here are also very similar. They argue that the issues in this case and

 their criminal matters overlap significantly and that the availability of broader discovery in the

 civil case could infringe on the right against self-incrimination in their criminal matters. (ECF No.

 57 at PageID 603.) For example, Defendants’ answers to the Complaint or sworn statements

 furnished in response to written interrogatories would double as potential admissions against

 interest. (Id. at PageID 603–04.) Though Defendants could refuse to answer questions by invoking

 their Fifth Amendment right against self-incrimination, such invocation can form the basis of an

 adverse inference in this matter, since it is a civil case. (Id. at PageID 604 (citing Baxter v.

 Palmigiano, 425 U.S. 308, 318 (1976).) In sum, they posit that absent a stay, they must choose

 between “(1) actively defend[ing] against the civil suit, likely waiving [their] Fifth Amendment



        6
          Though the Court granted the Motions for Joinder to the stay motions, (see supra notes
 1–3), the Court also observes that Plaintiff and Defendants City of Memphis and Chief Cerelyn
 Davis (in her Official Capacity) include all indicted Defendants in their analysis of whether a stay
 would be appropriate, regardless of whether they filed a motion to stay. (See ECF No. 72 at PageID
 672 n.1 and ECF No. 76 at PageID 699 n.2.) The City Defendants also state that they “are not
 opposed to the same limited stay applying to them, as well.” (ECF No. 76 at PageID 699 n.2.)
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 right against self-incrimination and risking the use of [their] statements against [them] in the

 criminal proceedings; or (2) passively defending the civil case, likely resulting in a sizable civil

 judgment against [them].” (Id. at PageID 604.)

        Plaintiff does not oppose a stay but contends that the scope of the Indicted Defendants’

 requested stay is overly broad, unnecessary, and prejudicial to her, Defendant City of Memphis,

 and the Defendants who want this case to proceed. (ECF No. 72 at PageID 672.) In an attempt to

 strike a balance, Plaintiff suggests a modified stay that she believes protects these Defendants’

 Fifth Amendment rights while allowing the case to move forward. (Id.) Specifically, she proposes:

        1. A stay on the Criminally Indicted Defendant Officers’ Answers to Plaintiff’s
        Complaint or any Amended Complaint;

        2. A stay on the Criminally Indicted Defendant Officers’ answering any discovery
        that requires their sworn testimony (i.e., interrogatories, requests for admission,
        depositions), but does not include a stay on the production of documents or other
        information under FRCP 34; and

        3. That all other Defendants, including Defendant Hemphill, Defendant D. Smith,
        the City of Memphis, Chief Cerelyn Davis, and the Paramedic Defendants shall
        have to answer Plaintiff’s Complaint, answer and issue discovery, and otherwise
        participate in the litigation of this case subject to the Federal Rules of Civil
        Procedure, the Orders of this Court, or any agreements by and between the parties.

 (Id. at PageID 673.)     In support of the requirement that the Indicted Defendants produce

 documents, Plaintiff notes that the Fifth Amendment’s protections do not apply to non-testimonial

 documents, and that Defendants must at least try to respond to requests for such documents before

 levying a Fifth Amendment challenge to their production. (Id. at PageID 675 (quoting United

 States v. Conces, 507 F.3d 1028, 1040 (6th Cir. 2007) (arguing that Defendants are required to

 “demonstrate a real danger of incrimination if he were to respond to any particular discovery

 request”).) Defendants City of Memphis and Defendant Chief Cerelyn Davis (in her Official




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 Capacity) (“City Defendants”) set forth the same proposal as Plaintiff. (ECF No. 76 at PageID

 699.)

         Defendant Whitaker agrees that Defendants’ requests are overly broad but proposes a

 slightly different compromise than Plaintiff. She suggests the following:

         1) Police Officer Defendants may refrain from filing a responsive pleading to the
            Complaint;
         2) Police Officer Defendants may refrain from serving responses to written
            discovery; and
         3) Police Officer Defendants may refrain from sitting as witnesses for depositions.

                 In addition to the above proposed discovery plan, the Court can also provide
         further protection through the entry of orders that address the following matters:

         1) A Protective Order that restricts access to documents; and
         2) A Protective Order that prohibits parties from disseminating discovery
            documents or transcripts of depositions.

 (ECF No. 74 at PageID 687 (footnote omitted).) While Defendant Whitaker acknowledges that

 not all of the Defendants have been indicted, her proposal does not distinguish between the two

 camps of Defendants. Rather, she suggests that “[i]f Defendants Hemphill and De[W]ayne Smith

 are not indicted within a reasonable period of time, the Court should review any limited or partial

 stay order as it pertains to them.” (Id. at PageID 687 n.6.)

         Defendant Justin Smith responded in support of Defendant Whitaker’s broader proposal.

 (ECF No. 79.) He argues that Plaintiff’s request for production of documents is “objectionable on

 its face because those documents, if generated, produced, or drafted by the defendant, would in

 fact be a statement which might be used to incriminate [him].” (Id. at PageID 714.) He also

 opposes Plaintiff’s suggestion that the Indicted Defendants be required to answer discovery that

 does not require “sworn” testimony “because a statement in order to incriminate does not have to

 be a sworn statement, but any statement whatsoever which would include Interrogatory

 responses.” (Id.)

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           Like Defendant Whitaker, Defendant Long does not distinguish between the Indicted and

 Non-indicted Defendants. He otherwise adheres more closely to Plaintiff’s proposal, however,

 stating that he “would agree not to depose any of the Defendant Officers or direct anything towards

 them that requires a response under oath” but requesting that “any discovery that does not require

 sworn testimony be allowed.” (ECF No. 75 at PageID 693.) Defendant Sandridge follows the

 same tack. (See ECF No. 77 at PageID 708.)

           After considerable deliberation, the Court finds that a complete stay as to the Indicted

 Defendants is appropriate here. Concerning the first stay factor, parties concede that the issues in

 these Defendants’ state criminal proceedings overlap with those presented in this matter. (See,

 e.g., ECF No. 72 at PageID 674 (stating that given the similarities between the state criminal

 charges and the allegations in Plaintiff’s Complaint, the Indicted Defendants “are therefore

 guaranteed certain protections against self-incrimination guaranteed by the Fifth Amendment”).)

 The Court agrees, and notes for clarification that both the federal and state Indictments charge the

 Indicted Defendants with crimes for their alleged actions the night of January 7,7 and that Plaintiff

 here alleges civil claims related to those actions. The Court finds this factor to weigh in favor of

 a stay.

           The second factor to consider concerns the status of the criminal cases. “In general, courts

 recognize that the case for a stay is strongest where the defendant has already been indicted . . . .”

 Chao, 498 F. Supp.2d at 1037. Here, these Defendants have already been indicted in two separate

 cases. As of the entry of this Order, no trial has been set for any of the Indicted Defendants and



           7
          The relevant dates in the state Indictment span January 6 to January 11, 2023. (See ECF
 No. 57-1.) The events leading to Mr. Nichols’s death occurred on January 7, and Mr. Nichols died
 on January 10, 2023. (ECF No. 1.) The federal Indictment alleges that the relevant conduct for
 all counts occurred “[o]n or about January 7, 2023.” See Indictment, United States of America v.
 Martin III, et al., No. 2:23-cr-20191-MSN (W.D. Tenn. filed Sept. 12, 2023).
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  the Court is not in a position to estimate when the trials may be; it has no specific knowledge about

  the progress of the state matter and the federal criminal case, while assigned to this Court, was

  filed only a week ago. Defendants represent to the Court that the state matter is “being actively

  litigated,” however, “with the parties exchanging discovery and regularly reporting the status of

  trial preparations to the Criminal Court.” (ECF No. 57 at PageID 602, ECF No. 60-2 at PageID

  624.) This Court is also hopeful that the federal criminal case will not face unnecessary delay.

  Absent additional information indicating excessive delays of the proceedings at issue in this

  matter, the Court finds this factor to weigh slightly in favor of a stay.

         As to the third factor, the Court weighs Plaintiff’s interests in proceeding with this case

  against the potential prejudice to her in the event of delay. Here, a stay of the entire case would

  certainly impede Plaintiff’s interest in the expeditious litigation of this case, especially if the

  Court’s assessment of the timing of the criminal proceedings’ resolution proves to be overly

  optimistic. A total stay as to only the Indicted Defendants, however, significantly diminishes such

  prejudice. Indeed, even Plaintiff “does not object to a limited stay” to excuse the Indicted

  Defendants from participating in a large portion of the discovery process. (ECF No. 72 at PageID

  674–75.)8 And since Plaintiff has not informed the Court of the documents or information the

  Indicted Defendants might have, the Court cannot say a total stay would render a much different

  result than a partial stay would, or that a total stay as to the Indicted Defendants would delay

  Plaintiff’s case against the other Defendants. Further, the Court’s rulings below permitting

  Plaintiff to proceed with discovery as to other Defendants alleviates some of the prejudice to




         8
            In fact, with the exception of the City Defendants, who would have the Court deny a stay
  in the first instance, (ECF No. 76 at PageID 698–99), all of the parties that responded to the
  Motions to Stay contend that the Indicted Defendants should receive at least a partial stay.


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  Plaintiff that would result from a total stay as to the Indicted Defendants. This factor therefore

  weighs in favor of a stay as to the Indicted Defendants.

         The fourth factor requires consideration of Defendants’ interest in a stay and the burden on

  them should they be denied one. Absent any stay, the Indicted Defendants would be forced to

  decide between an effective defense and fulfillment of their discovery obligations in this matter

  and the assertion of their Fifth Amendment rights for purposes of their state and federal criminal

  proceedings. A partial stay as Plaintiff suggests would minimize this burden, but not eliminate it.

  Indeed, it is certainly foreseeable that the Indicted Defendants would need to weigh those

  competing interests in responding to the requests parties’ various proposals would permit. For

  example, Plaintiff proposes that the Indicted Defendants be excused from answering discovery

  requiring their sworn statements but required to produce “documents or other information under

  FRCP 34.” (ECF No. 72 at PageID 673.) The production of documents can be testimonial,

  however, and thus implicate one’s rights under the Fifth Amendment. Butcher v. Bailey, 753 F.2d

  465, 469 (6th Cir. 1985) (citing United States v. Doe, 465 U.S. 605, 613–14, 613 n.11 (1984));

  Fisher v. United States, 425 U.S. 391, 411 (1975). Furthermore, “other information” allowed by

  Fed. R. Civ. P. 34 covers a broad scope of documents and information. See, e.g., Fed. R. Civ. P.

  34(a)(1)(A) (permitting parties to serve requests for “any designated documents or electronically

  stored information—including writings, drawings, graphs, charts, photographs, sound recordings,

  images, and other data or data compilations”). Thus, while Plaintiff’s proposal reads as though it

  would only implicate a small category of information, it could potentially permit requests for a

  great deal of information the disclosure of which could give rise to valid objections under the Fifth

  Amendment. This factor weighs in favor of a total stay as to the Indicted Defendants.




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          The Court’s and the public’s interest counsel in support of a total stay as to the Indicted

  Defendants for many of the same reasons as the fourth factor. Indeed, given (1) the lack of

  information about the amount of and types of information Plaintiff and others might request from

  the Indicted Defendants and (2) the breadth of the documents that parties could request from the

  Indicted Defendants under the proposals set forth in this matter, the Court considers it likely that

  a partial stay would embroil it in significant discovery disputes that might not even be necessary. 9

  Such a state of affairs would burden the Court and delay the resolution of Plaintiff’s claims against

  the remaining Defendants, which is not in the Court’s interest and also runs against the public

  interest in the efficient use of court resources, the expeditious resolution of disputes, and protection

  of the Indicted Defendants’ Fifth Amendment rights.

          For these reasons, the Court finds that the stay factors militate in support of a total stay as

  to the Indicted Defendants. In short, while the Court applauds the attempts by various parties to

  strike an appropriate balance between the timely advancement of the claims in this matter and the

  Indicted Defendants’ Fifth Amendment rights, these compromises open an avenue of discovery

  that would likely entangle the Court in discovery disputes that would result in considerable delay.

          The Motions to Stay filed by Defendants Haley, Martin, Mills, Bean, and Justin Smith are

  GRANTED IN PART.

  III.    Non-indicted Defendants (Defendants Hemphill and DeWayne Smith)

          The Non-indicted Defendants seek a stay with a scope very similar to that requested by the

  Indicted Defendants. (See ECF No. 62 at PageID 634 (moving to stay “pleadings, motions, written

  discovery, oral depositions, efforts to mediate and/or arbitrate, or any other efforts to resolve this


          9
           For example, Plaintiff’s Counsel suggested at the Scheduling Conference that they might
  seek training documents from the Indicted Defendants. This information would likely be
  obtainable from the City Defendants.

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  matter through alternative means for so long as there are active, parallel criminal investigations

  and/or proceedings”).)     Though these Defendants are not currently under state or federal

  indictment,10 they argue that a stay is nonetheless appropriate because “criminal charges have not

  been ruled out” on the state or federal level.11 (ECF No. 62 at PageID 635, 637.) Consequently,

  they assert that they “will be forced to invoke their Fifth Amendment Rights in the civil cases

  rather than participating,” and that the resulting negative inference from this silence would be

  highly prejudicial. (Id. at PageID 638.)

         Plaintiff sees “no basis” for staying this matter against the Non-indicted Defendants. (ECF

  No. 72 at PageID 676.) She argues that Defendants Hemphill and DeWayne Smith “are not subject

  to the same constitutional protections” as the Defendants who have been indicted and have failed

  to provide case law indicating that Fifth Amendment’s protections counsel in favor of a stay for

  them. (Id. at PageID 676–77.) Plaintiff also pushes back on the assertion that these Defendants

  may be subject to future criminal charges; she references a news article indicating that the District

  Attorney does not intend to charge Defendant Hemphill and argues that there is no indication of

  criminal investigations related to the counts she brings against Defendant DeWayne Smith. (Id. at

  PageID 677.) Accordingly, Plaintiff requests that the Non-indicted Defendants be required to

  answer the Complaint and participate in the discovery and litigation of this case. (Id. at PageID

  673.) As mentioned, the City Defendants agree with Plaintiff while Defendants Whitaker, Long,

  and Sandridge do not distinguish between the Indicted and Non-indicted Defendants.


         10
             Since Defendants Hemphill and DeWayne Smith filed their Motion, the United States
  filed an Indictment that, like the state Indictment, does not name these Defendants.
         11
             Counsel for Defendants Hemphill and DeWayne Smith (in his individual capacity)
  suggested at the Scheduling Conference that even though the federal criminal case did not name
  these Defendants, the federal investigation was ongoing. Plaintiff objected to that characterization,
  citing a lack of evidence to support it. The Court is not in a position to evaluate Counsel’s
  representation and will consequently not consider this argument in assessing the stay request.
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         The Court does not find that a stay is appropriate for Defendants Hemphill and DeWayne

  Smith. “[C]ourts generally do not stay proceedings in the absence of an indictment.” F.T.C., 767

  F.3d at 628. Certainly consideration of the first factor would be difficult, since one cannot compare

  the extent of two cases’ overlap without knowing the specific charges in both cases. The second

  factor also weighs against a stay since there has been no indictment of these individuals, and thus

  no information as to the statuses of those cases. Balancing the interests of the parties, Plaintiff

  would be prejudiced should she not be permitted to proceed with her case against these Defendants,

  especially since there has been no indication that they ever will be indicted. In contrast, the Non-

  indicted Defendants’ interest in a stay—which they frame as sounding in the Fifth Amendment

  (see ECF No. 62 at PageID 636)—is not significant since they are not under indictment. See

  F.T.C., 767 F.3d at 629 (observing that in the absence of an indictment, Fifth Amendment concerns

  are “not very compelling”). Finally, the interest of the Court, the public interest in judicial

  economy, and the expeditious resolution of court proceedings weigh against allowing the Non-

  indicted Defendants a stay. Accordingly, the Court does not find that the factors support a stay as

  to the Non-indicted Defendants.

          For these reasons, the Court DENIES Defendants Hemphill and DeWayne Smith’s

  Motion to Stay (ECF No. 62).

                                               CONCLUSION

         For the reasons set forth above, it is ORDERED as follows:

         (1)     The Motions to Stay filed by Defendants Haley, Martin, Bean, Mills, Justin Smith,

                 Hemphill, and DeWayne Smith (in his individual capacity) (ECF Nos. 57, 60, and

                 62) are DENIED insofar as they request a stay of the entirety of these proceedings.




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         (2)     The Motion to Stay filed by Defendants Hemphill and DeWayne Smith (ECF No.

                 62) is DENIED.

         (3)     The Motions to Stay filed by Defendants Haley, Martin, Bean, Mills, and Justin

                 Smith (ECF Nos. 57 and 60) are GRANTED insofar as they request a total stay of

                 this case as it applies to them. This matter, to include all pending and future

                 discovery propounded on these Defendants and all efforts to resolve this matter

                 through alternative means, is STAYED as to these Defendants.

         (4)     Defendants Haley, Martin, Bean, Mills, and Justin Smith shall file a status report

                 on or before November 1, 2023 and every sixty (60) days thereafter regarding

                 the status of their state criminal proceedings.12

         (5)     Plaintiff may proceed with her claims, to include efforts at resolution, against

                 Defendants City of Memphis, Chief Cerelyn Davis (in her official capacity),

                 Preston Hemphill, Robert Long, JaMichael Sandridge, Michelle Whitaker, and

                 DeWayne Smith (in his individual capacity and as an agent of the City of

                 Memphis).



         IT IS SO ORDERED, this 21st day of September, 2023.

                                                        s/ Mark S. Norris
                                                        MARK S. NORRIS
                                                        UNITED STATES DISTRICT JUDGE




          It is the Court’s preference that Defendants file a single report jointly. Should that be or
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  become unworkable for Defendants, however, they may file this report separately.
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